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               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT


 STATE OF WASHINGTON, et al.,

              Plaintiffs-Appellees,

                          v.                                        No. 25-807

 DONALD J. TRUMP, et al.,

              Defendants-Appellants.


    OPPOSITION TO PLAINTIFF STATES’ MOTION FOR LIMITED
         REMAND AND TO HOLD APPEAL IN ABEYANCE

      Plaintiffs assert that this case should be remanded to the district court for

further factual development related to the universal injunction the district court

issued. That request should be rejected. The question before this Court—both in

clarifying the scope of the Supreme Court’s stay order and in the underlying appeal—

is whether the record supports the district court’s entry of a universal injunction

instead of more narrow relief tailored to the “financial injuries” and “administrative

burdens flowing from citizen-dependent benefits programs” the States allege. CASA

slip op. 18. The States identify no additional evidence they would submit on that

issue, and there is no reason to delay matters in this Court with unnecessary and

duplicative proceedings in the district court.

      1. This is an appeal from a universal preliminary injunction entered at the

behest of the State plaintiffs. This Court denied a stay of the injunction and expedited
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the appeal. Briefing was completed on April 25, 2025. Oral argument was held on

June 4, 2025.

       2. On June 27, the Supreme Court partially granted the federal defendants’

application for a stay of the injunction pending appeal “to the extent that the

injunctio[n] [is] broader than necessary to provide complete relief to each plaintiff

with standing to sue.” Trump v. CASA, Inc., 606 U.S. __ (2025), slip op. 26. The

Supreme Court’s order left it to lower courts to resolve whether the States had

standing and whether the injunction was necessary to provide them relief,

determinations necessary to give practical effect to the partial stay pending appeal that

the Supreme Court granted.

       3. The States urge that this Court should vacate its supplemental briefing order

and direct further proceedings in district court. They assert that further proceedings

are needed “if the federal government seeks to show that the court can afford the

Plaintiff States complete relief with a narrower injunction” to allow “develop[ment of]

the record and arguments as appropriate in light of CASA and crystallize the issues

for this Court’s review.” Mot. 2.

       4. That request fundamentally misunderstands the posture of this case and the

parties’ relative burdens. Plaintiffs appear to believe that they start with a

presumption of universal relief and that the government bears the burden of proving

that some narrower remedy is sufficient. That theory finds no purchase in CASA or

any other decision. Plaintiffs bear the burden to establish their entitlement to an
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injunction, Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008), and as the

Supreme Court just made clear, the requirement that a court issue relief tailored to the

injured party before the court is a fundamental limitation on the court’s power to act,

CASA slip op. 18. The parties have already briefed the application of that principle,

see Gov’t Br. 49-52; States Br. 57-62; Reply Br. 30-31, and this Court’s supplemental

briefing order allows the parties to expand on those arguments in light of CASA.

       That supplemental briefing and the subsequent disposition by this Court of the

open questions regarding the scope of the stay is the appropriate course both for

swiftly clarifying the scope of the Supreme Court’s stay order and for resolving the

underlying appeal, which presents the same issue and for which this Court would need

supplemental briefing in any event. If the record does not support the universal

injunction the district court entered, then the States failed to carry their burden to

establish their entitlement to universal injunctive relief, and the injunction is within

the scope of the stay granted by the Supreme Court and should also be reversed by

this Court to the extent it extends beyond those bounds. And in any event, the States’

motion notably does not articulate any evidence the States believe necessary, beyond

what they have already submitted, to assert that they are entitled to a universal

injunction instead of relief tailored to the financial injuries they assert.

       5. At a minimum, there is no basis for this Court to “vacate its order for

supplemental briefing.” Mot. 3. As noted, this Court would require supplemental

briefing regardless to resolve this appeal, which is otherwise fully briefed and was
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argued over a month ago. And delay in resolving the appeal is all the more

unwarranted given that multiple other grounds exist on which to dissolve the

injunction in its entirety or as it extends beyond the individual plaintiffs, including that

the States lack Article III standing to sue, Gov’t Br. 44-49; Reply Br. 28-30; lack

standing to assert the rights of third parties, Gov’t Br. 42-44; Reply Br. 24-28; and are

not likely to prevail on the merits, Gov’t Br. 11-41; Reply Br. 3-23. To the extent the

States believe that further district-court proceedings should be limited to proceedings

on the stay pending appeal that the Supreme Court granted, then there is plainly no

reason to delay resolution of the appeal.

       6. If any district court proceedings are necessary, they should occur on remand

from this Court after it issues its decision. Such a decision would provide guidance

and structure to the district court proceedings by clarifying what factual issues are

unresolved and how the legal standards apply. In particular, if the States wish to

contend that CASA creates a presumption of universal relief in favor of the plaintiff

and then shifts the burden at the preliminary injunction stage to a defendant to put

forward factual evidence about the scope of a preliminary injunction, they should

present that argument in this Court, rather than demanding duplicative proceedings in

district court under that disputed and mistaken premise.




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                                 Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this response satisfies the type-volume requirements set

out in Rule 27(d)(2)(A) because it contains 941 words. This motion was prepared

using Microsoft Word in Garamond, 14-point font, a proportionally spaced typeface.


                                                s/ Derek Weiss
                                                Derek Weiss
